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     Federal Defender
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     Assistant Federal Defender
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5
     Attorney for Defendant
6    EBONY L. PIPKINS
7
8                        IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. Cr. S 05-122 GEB
                                     )
12                  Plaintiff,       )     STIPULATION AND [lodged] ORDER TO
                                     )     REDUCE SENTENCE PURSUANT TO 18
13        v.                         )     U.S.C. § 3582(c)(2)
                                     )
14   EBONY L. PIPKINS,               )     RETROACTIVE CRACK COCAINE REDUCTION
                                     )     CASE
15                  Defendant.       )
                                     )     Judge: Honorable Garland E.
16   _______________________________ )     Burrell, Jr.
17        Defendant, EBONY L. PIPKINS, by and through her attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED
19   STATES OF AMERICA, by and through its counsel, First Assistant U.S.
20   Attorney Phillip A. Talbert, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   The sentencing range applicable to Ms. Pipkins was
27   subsequently lowered by the United States Sentencing Commission in
28   Amendment 750;
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1         3.     Accordingly, Ms. Pipkin’s total offense level has been
2    reduced from 31 to 27, the new sentencing range is 100 to 125 months,
3    and the parties agree that an appropriate sentence in
4    light of all the circumstances and taking into consideration the
5    departure she received at the original sentencing would be 67 months;
6         4.     Ms. Pipkins merits a reduction in her sentence based on the
7    factors listed in 18 U.S.C. § 3553(a), as well as considerations of
8    public safety and Mr. Pipkin’s positive post-sentencing conduct;
9         5.     Accordingly, the parties request the court enter the order
10   lodged herewith reducing Ms. Pipkin’s term of imprisonment to 67
11   months.
12   Dated:    October 26, 2011
13   Respectfully submitted,
14   BENJAMIN WAGNER                           DANIEL J. BRODERICK
     United States Attorney                    Federal Defender
15
16
       /s/ Phillip A. Talbert                   /s/ David M. Porter
17   PHILLIP A. TALBERT                        DAVID M. PORTER
     First Assistant U.S. Attorney             Assistant Federal Defender
18
     Attorney for Plaintiff                    Attorney for Movant
19   UNITED STATES OF AMERICA                  EBONY L. PIPKINS
20
21                                           ORDER
22        This matter came before the Court on the stipulated motion of the
23   parties for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2).
24        The parties agree, and the Court finds, that Ms. Pipkins is
25   entitled to the benefit of the retroactive amendment reducing crack
26   cocaine penalties, which reduces the applicable offense level from 31
27   to 27.
28
     STIPULATION AND ORDER TO REDUCE SENTENCE
                                              -2-
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1         IT IS HEREBY ORDERED that the term of imprisonment imposed on June
2    11, 2008 is reduced to 67 months.
3         IT IS FURTHER ORDERED that all other terms and provisions of the
4    original judgment remain in effect.         The Clerk of the Court shall
5    prepare an Amended Judgment.
6         Unless otherwise ordered, Ms. Pipkins shall report to the United
7    States Probation office closest to the release destination within
8    seventy-two hours after release.
9    Dated:    October 27, 2011
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11                                       GARLAND E. BURRELL, JR.
12                                       United States District Judge

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     STIPULATION AND ORDER TO REDUCE SENTENCE
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